summalawfirm.com Mail - Re: Connor v ServiceQuik – Defendants' First Requests to Admit                                        10/24/24, 5:00 PM




                                                                                         Daniel Summa <daniel@summalawfirm.com>



 Re: Connor v ServiceQuik – Defendants' First Requests to Admit
 jayc650@hush.com <jayc650@hush.com>                                                                       Tue, Jun 4, 2024 at 11:31 AM
 To: Daniel Summa <daniel@summalawfirm.com>

    Hey Daniel,


    I'd like to reschedule the deposition after I've had a chance to review the correspondence and billing we
    discussed yesterday, assuming your client is ok with turning it over voluntarily. As I mentioned below, it's
    relevant information, and I need time to make sure that I apply it correctly to the case and other potential
    defendant(s). After receipt of the correspondence and billing info from Woosender and Dara, I will likely reach
    out to Woosender, and work with you on re-scheduling at a convenient time to possibly have Ms. Alfeld's
    deposition on the same day.


    Thanks and please call if you would like to discuss.



    On 6/3/2024 at 7:15 PM, "Daniel Summa" <daniel@summalawfirm.com> wrote:

        Jay– I’ve taken this request to SQ and will respond when I hear from them. I expect they will want
        to continue with the deposition as-scheduled as it would be very inconvenient for them to
        reschedule it at this point. I am guessing they will be fine with providing you the requested info.




        From: jayc650@hush.com <jayc650@hush.com>
        Date: Monday, June 3, 2024 at 10:22 AM
        To: Daniel Summa <daniel@summalawfirm.com>
        Subject: Re: Connor v ServiceQuik – Defendants' First Requests to Admit

        Hey Daniel,



        I'm in receipt of the below attachment.



        One part of Servicequik's RFP that I believe we should discuss prior to the depo is #7 on

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        Servicequik's RFP responses. The correspondence between Servicequik and Woosender, the
        payments to Woosender, and their correspondence with Dara is relevant to their involvement,
        potential vicarious liability and damages.


        On 5/30/2024 at 11:24 AM, "Daniel Summa" <daniel@summalawfirm.com> wrote:

             That works for me. I’ve attached the Alfeld responses.



             This completes any outstanding requests from you, let me know if you need anything
             else.



             Best,



             Daniel




             From: jayc650@hush.com <jayc650@hush.com>
             Date: Thursday, May 23, 2024 at 2:28 PM
             To: Daniel Summa <daniel@summalawfirm.com>
             Cc: Evan Riley <evan@summalawfirm.com>
             Subject: Re: Connor v ServiceQuik – Defendants' First Requests to Admit

             Received.



             Daniel,



             I'm ok with correspondence and discovery via email if you are.



             Thanks

             On 5/22/2024 at 4:55 PM, "Daniel Summa" <daniel@summalawfirm.com> wrote:

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                  Mr. Connor– please find enclosed Requests to Admit that are also being mailed
                  to you.



                  Best,



                  Daniel



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                  Daniel Summa

                  Summa Law Firm LLC

                  3 Broad Street, #301

                  Charleston, SC 29401

                  T: (843) - 277 - 9665

                  F: (843) - 806 - 2920




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